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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                   Plaintiff,             )                8:18CR42
                                          )
      vs.                                 )
                                          )
ARNOLDO RAMIREZ, JR., and                 )                  ORDER
CHRIS HARMEIER,                           )
                                          )
                   Defendants.


      This matter is before the court on defendant Chris Harmeier’s Unopposed Motion
to Continue Trial [76]. Counsel needs additional time to conduct discovery. For good
cause shown,

      IT IS ORDERED that the Motion to Continue Trial [76] is granted, as follows:

      1. The jury trial, for both defendants, now set for July 2 2018, is continued to
         September 17, 2018.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising
         as a result of the granting of this motion, that is, the time between today’s
         date and September 17, 2018, shall be deemed excludable time in any
         computation of time under the requirement of the Speedy Trial Act. Failure to
         grant a continuance would deny counsel the reasonable time necessary for
         effective preparation, taking into account the exercise of due diligence. 18
         U.S.C. § 3161(h)(7)(A) & (B)(iv).

      DATED: June 22, 2018.

                                       BY THE COURT:


                                       s/ Susan M. Bazis
                                       United States Magistrate Judge
